                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                    )
                                              )
              Plaintiff,                      )
                                              )
 v.                                           )      No.: 3:12-CR-101-TAV-CCS-13
                                              )
 JIMMY JOHNSON,                               )
                                              )
              Defendant.                      )

                      MEMORANDUM OPINION AND ORDER

       This criminal case is before the Court on the defendant’s motion for a sentence

 reduction [Docs. 681, 761, 765]. In the defendant’s motion, the defendant requests that

 the Court resentence him pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with

 Amendment 782 and Amendment 788 to the United States Sentencing Guidelines

 Manual. The government has responded [Doc. 766], deferring to the Court’s discretion

 as to whether, and to what extent, to grant any such reduction, subject to the limitations

 of 18 U.S.C. § 3582(c)(2) and section 1B1.10 of the United States Sentencing Guidelines

 Manual.

 I.    Standard of Review

       “Federal courts are forbidden, as a general matter, to modify a term of

 imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

 exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

 and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):

       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been


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       lowered by the Sentencing Commission . . . , the court may reduce the term
       of imprisonment, after considering the factors set forth in section 3553(a) to
       the extent that they are applicable, if such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission.

 The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

 requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

 to a term of imprisonment based on a sentencing range that has subsequently been

 lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

 (6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

 [must be] consistent with applicable policy statements issued by the Sentencing

 Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

 that the defendant is eligible for a sentence reduction, then “[t]he court may then

 ‘consider whether the authorized reduction is warranted, either in whole or in part,

 according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

 946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment

 based on a sentencing range that has subsequently been lowered by the Sentencing

 Commission, the Court must first determine “the amended guideline range that would

 have been applicable to the defendant had the relevant amendment been in effect at the

 time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and

 citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

 than substituting Amendment 782 for the corresponding provision applicable when the

 defendant was originally sentenced, the Court “shall leave all other guideline application
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 decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

 imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

 term “less than the term of imprisonment the defendant has already served.” Id. §

 1B1.10(b)(2)(A), (C).1 In addition to these limits, section 1B1.10 states that a court must

 also consider the § 3553 factors and the danger to the public created by any reduction in a

 defendant’s sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s

 post-sentencing conduct. Id.

 II.    Analysis

        Amendment 782 to the Guidelines, which became effective on November 1, 2014,

 revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

 the offense levels assigned to the drug quantities described in section 2D1.1. U.S.

 Sentencing Guidelines Manual App. C, amend. 782.               Amendment 782 also makes

 corresponding changes to section 2D1.11. Amendment 788, which became effective on

 November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

 Guidelines Manual App. C, amend. 788.

        Section 1B1.10 of the Sentencing Guidelines addresses reductions under §

 3582(c)(2):

               In determining whether, and to what extent, a reduction in the
               defendant’s term of imprisonment under 18 U.S.C. §
               3582(c)(2) and this policy statement is warranted, the court

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          Section 1B1.10 provides one exception to the rule that a defendant may not receive a
 sentence below the amended guideline range—namely, if the defendant originally received a
 below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
 assistance to authorities.” U.S. Sentencing Guidelines § 1B1.10(b)(2)(B). That is the case here.
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              shall determine the amended guideline range that would have
              been applicable to the defendant if the amendment(s) to the
              guidelines listed in subsection (d) had been in effect at the
              time the defendant was sentenced.

 U.S. Sentencing Guidelines Manual § 1B1.10(b). Amendment 782 is listed in subsection

 (d). Id. § 1B1.10(d).

       A defendant’s amended guidelines range is calculated by using the procedures set

 forth in section 1B1.1(a). Id. § 1B1.10 cmt. n.1(A); United States v. Joiner, 727 F.3d

 601, 604 (6th Cir. 2013). Accordingly, in calculating a defendant’s amended guidelines

 range, the reviewing court ordinarily must first substitute the revised base offense level

 provided by Amendment 782 and then apply the trumping provisions of sections 5G1.1

 and 5G1.2 as appropriate. See Joiner, 727 F.3d at 605 (discussing the procedure for

 calculating a defendant’s amended guideline range in light of the revised base offense

 levels for crack cocaine offenses provided by Amendment 750).

       Section 5G1.1 provides, in relevant part, that “[w]here the statutorily required

 minimum sentence is greater than the maximum of the applicable guideline range, the

 statutorily required minimum sentence shall be the guideline sentence.” U.S. Sentencing

 Guidelines Manual § 5G1.1(b).      Section 5G1.2 provides, in relevant part, that “the

 sentence to be imposed on a count for which the statute (1) specifies a term of

 imprisonment to be imposed; and (2) requires that such term of imprisonment be imposed

 to run consecutively to any other term of imprisonment, shall be determined by that

 statute and imposed independently.” Id. § 5G1.2(a).



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        Therefore, defendants whose sentences were subject to the trumping provisions of

 sections 5G1.1 and 5G1.2 ordinarily are not eligible for a sentence reduction as a result of

 Amendment 782, because their original sentences were not based on a sentencing range

 that has subsequently been lowered by the Sentencing Commission, and a reduction

 would not be permitted by the applicable policy statements issued by the Sentencing

 Commission. See Joiner, 727 F.3d at 604–09 (finding that a defendant was not eligible

 for a sentence reduction under Amendment 750); United States v. Williams, 512 F. App’x

 594, 597–600 (6th Cir. 2013) (same).

        Section 1B1.10(c) alters this analysis for defendants who have received a

 departure below a mandatory minimum sentence for their substantial assistance to the

 government. See 18 U.S.C. § 3553(e) (providing that a departure below a mandatory

 minimum sentence for a defendant’s substantial assistance “shall be imposed in

 accordance with the guidelines and policy statements issued by the Sentencing

 Commission pursuant to section 994 of title 28, United States Code”). For this class of

 defendants, “the amended guideline range shall be determined without regard to the

 operation of § 5G1.1 (Sentencing on a Single Count of Conviction) and § 5G1.2

 (Sentencing on Multiple Counts of Conviction).” U.S. Sentencing Guidelines Manual §

 1B1.10(c).

        Here, the defendant is among the class of defendants covered by section

 1B1.10(c). Before the defendant’s sentencing, the government moved for a downward

 departure pursuant to 18 U.S.C. § 3553(e) [Doc. 765]. The Court granted that motion and

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 sentenced the defendant to 84 months’ imprisonment, which is 30 percent below the

 defendant’s restricted guideline range [Id.]. Therefore, as the government concedes, the

 defendant is eligible for a sentence reduction pursuant to § 3582(c)(2).

        Because the trumping provisions of sections 5G1.1 and 5G1.2 no longer apply, the

 Court calculates the defendant’s amended guideline range by first substituting the

 appropriate revised base offense level provided by Amendment 782, and then making any

 adjustments in accordance with the defendant’s original sentence. Id. § 1B1.10(b)(1)

 (providing that “the court shall substitute only the amendments listed in subsection (d) for

 the corresponding guideline provisions that were applied when the defendant was

 sentenced and shall leave all other guideline application decisions unaffected”).

 Therefore, the defendant’s revised base offense level is 24, and his new total offense level

 is 21. A total offense level of 21 and a criminal history category of II results in an

 amended guidelines range of 41 to 51 months’ imprisonment. Id. § 5A.

        The Court may depart downward from this amended range in an amount

 comparable to the downward departure that the Court originally granted for the

 defendant’s substantial assistance.    Id. § 1B1.10(b)(2)(B).      Because the defendant

 originally received a 30 percent departure from the restricted guideline range, he is

 eligible for a reduced sentence of 29 months’ imprisonment.

        In determining the appropriate amount by which to reduce the defendant’s

 sentence, the Court considers the sentencing factors set forth in 18 U.S.C. § 3553(a), the

 nature and seriousness of the danger to any person or the community that may be posed

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 by a reduction in the defendant’s term of imprisonment, and the defendant’s post-

 sentencing conduct. 18 U.S.C. § 3582(c)(2); U.S. Sentencing Guidelines Manual §

 1B1.10 cmt. n.1(B).

        The Court finds as an initial matter that the § 3553(a) factors that applied at the

 time of the defendant’s sentencing also apply today. In regard to these factors and in the

 context of the instant motion, the Court considers the nature and circumstances of the

 defendant’s offense and his role in the offense, along with his history and characteristics.

        The Court also considers the need for the sentence imposed to reflect the

 seriousness of the offense, to promote respect for the law, to provide just punishment for

 the offense, to afford adequate deterrence, to protect the public from further crimes of the

 defendant, and to provide the defendant with needed education and training, medical

 care, or other correctional treatment.2 Further, the Court considers the kinds of sentences

 available and the sentencing range, the need to avoid unwarranted disparities, and the

 need to provide restitution to any victims. See 18 U.S.C. § 3553(a).

        Regarding the defendant’s post-sentencing conduct and the risk of danger to the

 community resulting from a sentence reduction, the Court notes that the government

 states that it has no specific information to present in opposition to a sentence reduction

 [Doc. 766 p. 4]. Thus, it appears that the defendant’s post-sentencing conduct has been




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          The Court, however, is not intending to, and is not, imposing or lengthening the
 defendant’s sentence to enable the defendant to complete a treatment program or otherwise
 promote rehabilitation. See generally Tapia v. United States, 131 S. Ct. 2382 (2011).
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 acceptable, and it does not appear that a sentence reduction will create an inordinate risk

 of danger to any person or the community.

        After considering section 1B1.10 and the relevant § 3553(a) factors, the Court

 finds that a reduction to a term of 29 months’ imprisonment is appropriate. In making

 this determination, the Court is particularly influenced by the changes in base offense

 levels resulting from Amendment 782. The Court has also taken into consideration the

 risk that the defendant poses to public safety, the nature and circumstances of the

 defendant’s offense, the defendant’s personal history and characteristics, and the

 defendant’s post-sentencing conduct.

 III.   Conclusion

        For these reasons, the defendant’s motion [Docs. 681, 761, 765] is GRANTED,

 and the defendant’s sentence is REDUCED to 29 months’ imprisonment. If this

 sentence is less than the amount of time the defendant has already served, the sentence

 shall be reduced to a “time served” sentence. U.S. Sentencing Guidelines Manual §

 1B1.10(b)(2)(C).

        Except as otherwise provided in this order, all provisions of the judgment dated

 February 27, 2014 [Doc. 451], shall remain in effect.

        IT IS SO ORDERED.



                                   s/ Thomas A. Varlan
                                   CHIEF UNITED STATES DISTRICT JUDGE


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